Case 2:18-cr-00047-LGW-BWC Document 70 Filed 03/07/19 Page

10

11

12

13

14

15

16

sd

18

19

20

Ail

22

23

24

25

GOVERNMENT
EXHIBIT

 

 

Bail Reform Act.
THE COURT: That's my practice is where -- Mr.
Tucker, do you agree that this is a presumption case?

MR. TUCKER: I do, Your Honor.

THE COURT: Then I will have the defendant go forward

first because it is the defendant's burden.

MR. TUCKER: Do you wish us to approach the podium,
for him to take the stand or remain at counsel table? Because
I've got some bond questions I've got to ask him.

THE COURT: For the defendant, it's fine for him to
approach the podium. I think that's best.

DONALD S. ADAMS,
having been first duly sworn, was examined and testified as
follows:

THE CLERK: Please state your full name and spell
your last name for the record.

THE DEFENDANT: Donald Stephen Adams, A-d-a-m-s.

DIRECT EXAMINATION

BY MR. TUCKER:

Q. Mr. Adams, how old are you?

A. 62.

Q. And your date of birth?

A. 10/4/56.

oO. And where do you currently reside?

A. Currently I've been staying at 130 Old Buddy Road.

 

I

 

 
Case 2:18-cr-00047-LGW-BWC Document 70 Filed 03/07/19 Page 2 of 26

 

1 believe it's Waynesville.

2 Q. Would that be in Glynn County or Brantley County?

3 A. Brantley County.

4 Q. And who lives there with you?

5 A. My wife and friend's of her mother.

6 QO. And how long have you resided at that address?

7 A. About a week.

8 Q. And where did you reside before then?

9 A. Salvation Army.
10 Q. And where did you reside before then?
11 A. I was at motels, different motels, working as a
12 maintenance man for room and board.
13 Q. How long have you been residing inside the Southern
14 District of Georgia, which basically goes the corner of the

15 state from Augusta to Valdosta, which would include Brunswick,
16 Camden County, Ware County, how long have you been lived here?
17 A. I first moved down here in I believe it was '93.

18 Q. And have you been here on a continuous basis since
19 that time or have you lived in other places?

20 A. I -- the only -- well, I've lived in -- it's been in
21 South Carolina and also in Arizona during that time for short
22 periods of time because of the job I had transferred me to

23 those states.

24 Q. And what type of work have you done over the last ten
25 years?

 

 

 

10
Case 2:18-cr-00047-LGW-BWC Document 70 Filed 03/07/19 Page 3 of 26

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

A. The last ten years, I've done retail, construction,
maintenance. Now I'm doing work over at ~- I've been doing

work over at the port as far as driving and QCM.

Q. Do you have a TWIC card?
A. Yes, sir, I do.
Q. And what type of work -- are you actually driving at

the port or offloading trucks and vehicles at IAP or are you --
A. No.
Q. -- driving trucks that are hauling materials to take
off the port site?
A. No, I'm not driving -- I'm just driving cars from

Point A to Point B on the port.

Q. And how long have you been employed in that status?
A About a month.

Q. Is your employer G-Star Staffing?

A Yes, it is.

Q. Is that a temporary agency?

A, It -- it is, but it isn't because you work full time,

but IAP finds it's cheaper to go that route than to hire
themselves, and then -- then they can pick through the people

to see who they want to go company.

Q. Do you have any children?
A. No, sir.
Q. Do you have any family that resides outside the state

of Georgia?

 

11

 
Case 2:18-cr-00047-LGW-BWC Document 70 Filed 03/07/19 Page 4 of 26

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

A. I have a mother and sister that reside in Florida.

QO. Do you have a passport?

A. No, sir.

Q. Have you ever traveled outside the continental United

States for any reason?

A. When I was with -- young, I lived in Japan for four
and a half years because my dad was in the navy.

Q. And what was the last time you've traveled outside
the continental United States?

A, Might have gone down to Mexico a couple of times when

I was a teenager.

Q. When is the last time, 40 years ago?
A. Basily.
Q. The preservices report indicates that you have a

prior conviction for possession of a controlled substance for
sale in San Bernardino, California back in 1988. Do you recall

that incident?

A. Yes, sir.
Q. Did you receive three years' probation and 240 days
in jail?

A. I believe it was something like that.

Q. Did you complete that probation without any problem?
A. Yes, sir.

Q. Have you been on probation anywhere else since 1988?
A. No, sir.

 

12

 
Case 2:18-cr-00047-LGW-BWC Document 70 Filed 03/07/19 Page 5 of 26

 

1 Q. Have you been convicted of any crimes since 1988?

2 A. No, sir.

3 Q. Have you had any criminal offenses or been charged

4 with anything since 1988?

5 A. No, sir.

6 Q. Do you know anything about a theft by shoplifting

7 that allegedly occurred on 11/23, November 23rd, 2015?

8 A. Yes, sir. I know that -- I was never charged -- I

9 mean, I was arrested, but I was never charged.

10 QO. To your knowledge, has that case not been prosecuted?
11 A, There was nobody came down and filed from the store
12 from what I was told.

13 Q. And also on the preservices report there's apparently
14 a 1990 arrest in San Bernardino, California for transporting

15 controlled substances. The disposition is unknown. Do you

16 know anything about that charge?

17 A. No, sir, I do not.

18 Q. Do you recall anything about it?

19 A. No, sir, I do not.
20 Q. Are those the only two times in your life you recall
21 that you've been arrested is when you were in San Bernardino in
22 1988 and the shoplifting charge in 2015, which has not been

23 pursued?

24 A. Yes, sir.

25 Q. Have you ever been involved in a violent crime

 

 

 

13
Case 2:18-cr-00047-LGW-BWC Document 70 Filed 03/07/19 Page 6 of 26

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

before?
A. No, sir.
Q. Do you have any reason to give The Court or should

The Court be concerned that if it gives you a bond that you
will break the law?

A. No, sir.

Q. Does The Court have any reason to be concerned that
if he were to give you a bond that you would continue to deal
in drugs?

A. No, sir.

Q. Do you have any reason to believe or does The Court
have any reason to have concerns that if you were released on
bond that you would fail to appear to court when required to do
so?

A. No, sir. If I was going to do that, I would have

done it when they first interviewed me.

Q. And you weren't arrested until Monday; is that
correct?

A. Yes.

Q. And you were interviewed in September of 2018 about

this offense?

A. Yes, sir.

Q. This offense allegedly occurred back in December of
last year; is that correct?

A. Yes.

 

14

 
Case 2:18-cr-00047-LGW-BWC Document 70 Filed 03/07/19 Page 7 of 26

 

1 Q. And did you know prior to September that you were

2 being investigated?

3 A. No, sir.

4 Q. And did you cooperate fully with the investigators

5 when they interviewed you in September of 2018?

6 A. Yes, sir.

7 Q. Did you tell them everything that you knew about this
8 particular offense?

9 A. Yes, sir.
10 Q. Did you make admissions about your conduct?
11 A. Yes, sir.
12 Q. Did they tell you at that point in time that you were
13 going to be arrested and charged with this offense?
14 A. No, Sir.
15 Q. Did you have reason to believe that you were going to
16 be arrested and charged with this offense?

17 A. No, sir.

18 Q. And yet you made no attempt to leave the jurisdiction
19 of the State of Georgia, did you?
20 A, No, I did not, sir. I tried to find a job to be
21 stable with me and my wife right here.

22 Q. If The Court were to release you on bond, would you
23 attempt to intimidate any witness or attempt to obstruct

24 justice?

25 A, No, sir.

 

 

 

15
Case 2:18-cr-00047-LGW-BWC Document 70 Filed 03/07/19 Page 8 of 26

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

Q. Would you pose a threat or a danger to the community?
A. No, sir.
Q. Are you willing to a wear an ankle monitor if The

Court grants you a bond?

A. Yes, sir.

Q. And are you going to continue to have your employment
with G-Star Services?

A. I am certainly going to try, but I was arrested on
the property there, so I don't know how that goes.

Q. Do you have any assets, homes, anything that you

could use, any family member could use to put up a bond on your

behalf?
A. Unfortunately, no, sir.
Q. What is the financial condition of your parents or

family who live down in Florida? Are they in a position where
they could come up here and help you post a bond?
A. Probably not. My mom is retired. All she has is my

dad's retirement pension. I wouldn't even ask her, you know.

Q. Okay. In addition --
A. And she would refuse anyway.
Q. In addition, there's been some substance abuse

allegations contained in the preservice report that you last
used alcohol approximately a week ago, last used cocaine
approximately four months ago, last used heroin approximately

eight months ago and used prescription opiates approximately

 

16

 
Case 2:18-cr-00047-LGW-BWC Document 70 Filed 03/07/19 Page 9 of 26

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

six months ago. Would that be correct?
A. Yes, sir.
Q. If you were tested today, would you be positive for

any controlled substances?

A. No, I do not believe so.
Q. Are you asking The Court to give you a bond?
A. Yes, I do.

MR. TUCKER: Your Honor?

THE DEFENDANT: The reason I'm asking for this bond
is my wife has COPD. She cannot find a job herself because she
can't hardly breathe. I need to be able to work to make some
money so that when this case comes to trial and that, that she
will be able to continue.

MR. GILLULY: I would love the opportunity to cross
if --

THE COURT: Any objections, Mr. Tucker?

MR. TUCKER: Not at all.

MR. GILLULY: May I either do it from here or either
have the witness --

THE COURT: I think if the witness would come up to
the witness stand for any cross-examination.

CROSS-EXAMINATION
BY MR. GILLUOLY:
Q. Mr. Adams, were you in here when the Judge explained

the charges but when I went over the penalty for this offense?

 

17

 
Case 2:18-cr-00047-LGW-BWC Document 70 Filed 03/07/19 Page 10 of 26

 

1 A. Yes, sir, I --
2 Os So you understand that with a prior drug conviction,
3 which you do have; correct?
4 A. Yes, sir.
5 Q. You realize you're looking at not less than life in
6 prison if you are convicted?
q A. Yes, sir.
8 Q. And, you know, you talked to the FBI agent -- one of
9 these individuals is in the courtroom -- is that one of the
10 agents you talked to?
11 A. Yes, sir.
12 Ox And when you interviewed with him, he didn't tell you
13 what to say, did he?
14 A. No, he didn't.
15 om No. In fact, he didn't put you in handcuffs. He
16 didn't demand that you answer his questions. You answered his
17 questions freely and voluntarily; correct?
18 ne Yes, sir, I did.
Lo Q. Without any kind of coercion?
20 A. Yes, sir.
21 Os Without any promises?
22 A. Yes, sir.
23 Q. And during that interview, you told him that you, you
24 know, you sold heroin --
25 A. No, sir.

 

 

 

18
Case 2:18-cr-00047-LGW-BWC Document 70 Filed 03/07/19 Page 11 of 26

 

1 Q. -- with -- okay. It's your testimony you did not
2 admit to delivering heroin?

3 A. I delivered, yes. I did not sell.

4 Q. Delivered heroin from Makeda Atkinson?

5 A. Yes, sir.

6 Q. And you delivered heroin that you got from Makeda
7 Atkinson. In fact, he would give you drugs so that -- as a
8 form of kind of payment; is that right?

9 A. More or less.

10 Q. And you had an addiction problem or have one

11 yourself; right?

12 A. I don't have one anymore.
13 Q. You last used heroin about eight months ago, but you
14 were using it at least on a weekly basis; right?

15 A. Yes.
16 Q. And prescription opioids you last used about six
17 months ago, and you were using those on a weekly bass?

18 A. Pretty much.

19 Q. And you would agree that the heroin you were getting,
20 you were unlawfully getting it?
21 A. Yes, sir.
22 Q. And the opioids, those weren't from prescriptions?
23 A. No, sir.
24 Q. You were getting those illegally, too?
25 A. Yes, sir.

 

 

 

19
Case 2:18-cr-00047-LGW-BWC Document 70 Filed 03/07/19 Page 12 of 26

 

1 Q. And cocaine, about last used four months. Obvicusly
2 it's illegal to possess cocaine; right?

3 A. Yes, sir.

4 Q. You know, one of the things that the lawyer asked you
5 about, in addition to some of the questions by the agent, was

6 where you were living. You would agree with me that you don't
7 own a house?

8 A. No, sir.

9 Q. You don't have any assets?

10 A. No, sir.
11 Q. In fact, when the agents interviewed you, you were at
12 a homeless shelter?
13 A. Yes, sir.

14 Q. And you were, prior to the homeless shelter, you were
15 bouncing around from motel to motel for like four years?

16 A. Yes, sir.

17 Q. And not only do you or did you have an addiction

18 problem but your wife did, too?

19 A. Yes, sir. I basically -- for the first two anda

20 half years, we were at the same motel.

21 Q. And then after the two and a half, before, you know,
22 while you were -- for the last four years, while you were doing
23 maintenance work at various motels in exchange for room and

24 board, some of that time your wife wasn't with you; some of the
25 time she was?

 

 

 

20
Case 2:18-cr-00047-LGW-BWC Document 70 Filed 03/07/19 Page 13 of 26

 

1 A. She was pretty much with me.

2 Q. Doing drugs with you also at times?

3 A. Yes, sir.

4 Q. Okay. And in fact, it was at a hotel that you

5 sometimes would even deliver some of the drugs for Mr.

6 Atkinson?

7 A. From -- deliver from but not to the motel.

8 Q. But you would be at the hotel where it would be

9 dropped off?
10 A. No. He would be at the motel also.
11 Q. But you would also serve people from that hotel?
12 A. Yes. He was -- he was busy with other things and he
13 would ask me to take this to this person.

14 Q. Okay. With regard to your job, it is a job that is
15 with a temporary service; right?

16 A. Yes, sir.

17 Q. You don't know if you're going to have that job

18 because you were arrested by law enforcement from work; right?
19 A. Yes, sir. Right.
20 Q. After agents interviewed you while you were at the
21 homeless shelter, after that, you soon after moved; is that
22 right?

23 A. No, sir.

24 Q. When did you move?

25 A. The Monday before I was arrested.

 

 

 

21
Case 2:18-cr-00047-LGW-BWC Document 70 Filed 03/07/19 Page 14 of 26

 

1 Q. So it's just as recent as the Monday before you were
2 arrested you moved to another location?
3 A, Yes, sir.
4 Q. And you haven't been working consistently for even a
5 month; is that right?
6 A. Yes, sir, I have.
7 Q. Well, you started September 24th; right?
8 A. Somewhere around there.
9 Q. Okay. And you don't know if that job will be around
10 when you get out; that's fair to say?
11 A. Well, I'm pretty sure that if I get out on bond that
12 I can work off site. I can't work on the port itself with an
13 open case.
14 QO. Okay.
15 A. But I can work off site.
16 Q. And are you aware that law enforcement was looking
17 for you for over two weeks before they found you?
18 A. I had no clue.
19 Q. And they actually had to come on the port to find you
20 because you weren't at the same location you were when they
21 interviewed you the first time?
22 A. But I had told them that I was working at the port.
23 As a matter of fact, I was on my way to work when they picked
24 me up.
25 QO. And are you still getting help for your mental

 

 

 

22
Case 2:18-cr-00047-LGW-BWC Document 70 Filed 03/07/19 Page 15 of 26

 

1 condition? Do you have -- bipolar; right?

2 A. Well, they -- that's what I was -- but I don't seem
3 to have any problems.

4 Q. Okay.

5 A. I haven't taken anything in several years.

6 Q. You last went to a counselor, I believe, was in May
7 of 2018 for stress-related issues?

8 A. Yes, sir. That was my wife -- my stepdaughter had

9 just been admitted to the hospital and my wife drank -- had
10 tried to commit suicide.
11 MR. GILLULY: Okay. That's all the questions I have,
12 Your Honor.
13 DIRECT EXAMINATION
14 BY MR. TUCKER:
15 Q. Mr. Adams, without going indepth conversations about
16 the acts that you're accused of, let me ask you, sir: Did you
17 know that you were distributing fentanyl --
18 A. No, sir, I did not.
19 Q. -- on September 27th, 2000 -- I'm sorry. On December
20 of 2017?
21 A. No, sir, I did not.
22 Q. Did you think it was heroin?
23 A. Yes, sir.
24 Q. Is that what you had been told it was?
25 A. That's what I was told it was.

 

 

 

23
Case 2:18-cr-00047-LGW-BWC Document 70 Filed 03/07/19 Page 16 of 26

 

1 Q. Did you ever have any intent to distribute fentanyl?
2 A. No, sir.

3 Q. If you had known it was fentanyl, would you have

4 taken it to anybody?

5 A. No, sir.

6 Q. At the time it was delivered by you, did you have any
7 suspicion, understanding or knowledge that it was anything

8 other than heroin?

9 A. No, sir, I did not.

10 MR. TUCKER: Thank you, sir.
11 THE COURT: Mr. Adams, you can step down.

12 Mr. Tucker, any additional witnesses?
13 MR. TUCKER: No, Your Honor.

14 THE COURT: Any other argument you would like to

15 present?

16 MR. TUCKER: No, Your Honor.

17 THE COURT: Mr. Tucker, just a couple of questions
18 that I would like to ask.

19 MR. TUCKER: Sure.

20 THE COURT: I understand that -- I believe it's 130
21 Bay Road is the residence.

22 THE DEFENDANT: Old -- Old Buddy Road.

23 THE COURT: Old Bay.

24 THE DEFENDANT: Old Buddy, B-u-d-d-y.

25 THE COURT: Old Buddy.

 

 

 

24
Case 2:18-cr-00047-LGW-BWC Document 70 Filed 03/07/19 Page 17 of 26

 

1 THE WITNESS: Like a buddy.

2 THE COURT: Mr. Tucker, I understand that's only one
3 week at that residence. Is that a rental property?

4]. THE DEFENDANT: Yes, it is a rental property.

5 THE COURT: And is there a lease on that property?

6 THE DEFENDANT: I believe the lady that is living

7 there and my wife's friend has a lease on it.

8 MR. TUCKER: Are you literally living with someone

9 else who has a lease?

10 THE DEFENDANT: Pretty much, yes, sir. She's -- the
11 lady has had a brain tumor removed and her daughter is

12 incarcerated and her daughter has asked my wife and I to look
13 out for her while she's incarcerated.

14 MR. TUCKER: May we inquire as to what her daughter's
15 name is?

16 THE DEFENDANT: Chrissy Westcott.

17 THE COURT: I'm sorry, could you say that a little
18 louder?

19 THE DEFENDANT: Or actually I think Chrissy is
20 here -- her real name is Geneva.
21 THE COURT: Westcott is the last name?
22 -THE DEFENDANT: Yes. Yes, sir.
23 THE COURT: And Geneva Westcott is the tenant at that
24 property?

25 THE DEFENDANT: No, that's the daughter.

 

 

 

25
Case 2:18-cr-00047-LGW-BWC Document 70 Filed 03/07/19 Page 18 of 26

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

THE COURT: That's the daughter.

THE DEFENDANT: Yes, sir.

MR. TUCKER: And I asked that name, Your Honor,
because we've got so many felony indictments out of Brantley
County for distribution of meth and sale of meth, I can't
remember if that's one of them that we've been dealing with or
not, SO...

THE COURT: Understood. Has there been any
communication with G-Star about employment since this arrest?

THE DEFENDANT: I didn't really --

THE COURT: Have you made any contact with G-Star,
your previous employer, about ongoing employment since this
arrest has been made.

THE DEFENDANT: No, sir, I have not. I don't have
any money on my books, so I can't make no phone calls.

MR. TUCKER: Don't have any phone access.

THE COURT: Mr. Gilluly, do you have any evidence or
argument you would like to present?

MR. GILLULY: Yes, Judge, I would like to call John
Wood to the stand.

SPECIAL AGENT JONATHAN WOOD,
having been first duly sworn, was examined and testified as
follows:

THE CLERK: Thank you. You may be seated. Please

state your full name, spell your last name for the record, state

 

26

 
Case 2:18-cr-00047-LGW-BWC Document 70 Filed 03/07/19 Page 19 of 26

 

1 your occupation and your business address.
2 THE WITNESS: Jonathan Wood, W-o-o-d, special agent
3 with the FBI, and we work at 117 Northpark Drive here in
4 Brunswick.
5 DIRECT EXAMINATION
6 BY MR. GILLULY:
7 Q. Agent Wood, are you one of the investigators against
8 Donald Adams, who is present in the courtroom?
9 A. I am.
10 Q. And did you have any difficulty finding him after the
11 arrest warrant was issued for his arrest?
12 A. Yes.
13 Q. Can you tell The Court about that.
14 A. Forget the exact date. I believe it was two Fridays
15 ago the warrant was issued. We have been looking consistently
16 since then, utilizing numerous techniques at our disposal, and
17 it was only recently that we were able to locate him.
18 Q. When you interviewed him originally, he was at a
19 homeless shelter?
20 A. Correct.
21 QO. And then after, the next time you tried to find him,
22 obviously he was not there?
23 A. He was not.
24 Q. Is that correct?
25 A. No.

 

 

 

27
Case 2:18-cr-00047-LGW-BWC Document 70 Filed 03/07/19 Page 20 of 26

 

1 Q. Did you have an opportunity to talk to his wife about

2 where he was located?

3 A. Yes. Just a couple days ago.

4 Q. And then that's when you learned --

5 A. Correct.

6 Q. -- where he was located. Is that when you went and

7 arrested him?

8 A. Yes.

9 Q. And the defense lawyer went into a little bit about
10 the statement. Let me ask you: Did this defendant admit to
11 distributing a controlled substance in conjunction with Mr.
12 Atkinson, his defendant?

13 A. Yes.

14 Q. Did he admit distributing controlled substance the
15 very night before the victim of this death died?

16 A. Yes.

17 Q. And did he indicate to you whether or not that was
18 the only time he had ever distributed a controlled substance?
19 A. He said that was not the only time. He didn't say --
20 I would have to go back to our report, but that was not the
21 first time.

22 Q. Sure. Did he explain like how he benefited by

23 distributing drugs for Mr. Atkinson?

24 A. Just that he would -- our understanding is that he
25 would receive payment in the form of drugs. I don't know if

 

 

 

28
Case 2:18-cr-00047-LGW-BWC Document 70 Filed 03/07/19 Page 21 of 26

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

there was a monetary benefit as well between he and Mr.

Atkinson but that he would receive drugs as payment sometimes

for the assistance.

Q.

And, in fact, with regard to the overdose death, is

it true that this defendant is the one who physically

distributed the drugs to the victim --

A.

Q.

>

PD

1

»

”

PC

Honor.

BY MR.
Q.
A.

Q.

Correct.

-~ who thereafter ingested it and died?
Yes.

Do you know how old this woman was?
Maybe in her thirties.

Did she have any children?

Yes.

Do you know who found the dead woman?
Yeah, their daughter.

Five-year-old daughter?

Right.

MR. GILLULY: That's all the questions I have, Your

CROSS-EXAMINATION
TUCKER:
Good morning.
Good morning.

Am I correct that the complaint was filed on October

the 12th, 2018; is that correct?

 

29

 
Case 2:18-cr-00047-LGW-BWC Document 70 Filed 03/07/19 Page 22 of 26

 

1 A. I would have to see it, but that sounds about right.
2 MR. TUCKER: May I approach, Your Honor?

3 THE COURT: Sure.

4 THE WITNESS: Yes.

5 Q. (By Mr. Tucker) Attached to that complaint -- I'm
6 sorry, and attached to that complaint is an affidavit that you
7 prepared, I believe; is that correct?

8 A. Correct.

9 Q. We've determined this morning that that affidavit has
10 some factual inaccuracies about the dates. It says this
11 incident occurred on December 28th, 2018 but it's actually

12 December 28th, 2017.
13 A. Correct.
14 Q. How long have you been actively investigating this
15 particular incident?
16 A. Since -- I want to say July, the end of July, maybe
17 the beginning of August it was brought to our attention. We
18 had been aware of the -- the distribution, narcotics

19 distribution, by Mr. Atkinson, but we were filled in more once
20 we collaborated with CID at Glynn County as to the bigger
21 picture going on here. Probably end of July, beginning of
22 August.

23 Q. I believe that the victim's mother is actually the
24 one who pointed out Mr. Adams as being the one that physically
295 sold the substance to her daughter because she delivered her

 

 

 

30
Case 2:18-cr-00047-LGW-BWC Document 70 Filed 03/07/19 Page 23 of 26

 

1 daughter to the -- to the place where it was distributed?
2 A. Correct, she was the driver.
3 Q. Am I correct that you first interviewed Mr. Adams on
4 September the 27th, 2018?
5 A. Correct.
6 Q. Did you tell him at that point in time that he was
7 the subject of an investigation?
8 A. I personally was not involved in his interview. That
9 was one of the task force officer on our task force and an
10 investigator with Glynn County, criminal investigative
11 division, but, yes, he was asked to come in and answer
12 questions.
13 He was advised of his Miranda right and then said he
14 would willingly talk to law enforcement, and then we just got
15 into the story, so he was aware of the investigation.
16 We did not tell him whether or not he was under
17 arrest or was being looked at for charges.
18 Q. Is any part of his statement that you've been at that
19 you've been able to verify that is untrue or false?
20 A. Say that again. Sorry. Is there any part of his
21 statement?
22 Q. That you have been able to verify that it is untrue
23 or false?
24 A. No. Out of the -- a lot of the facts that he stated,
25 we were able to corroborate. Obviously we're not going to know

 

 

 

31
Case 2:18-cr-00047-LGW-BWC Document 70 Filed 03/07/19 Page 24 of 26

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

if he's telling -- if every detail is the truth or not, but if
you have something particular, I would be happy to answer that,
but, no, I mean, nothing that I've discovered that he's just
lying to us about that I know of.

Q. Well, that's my question. Do you know of anything
that he's lying about?

A. No, not that I know, except that earlier he claimed
that he told us he was at the port. We don't have any
knowledge of that. That was the -- obviously, we would not
have looked for a week and a half or almost two weeks if we

knew he was at the port.

Q. Let's ask that. You knew that he was at the homeless
shelter?

A. Correct.

Q. And if the complaint was filed on the 12th?

A. Uh-huh.

Q. And he didn’t leave the homeless shelter until the

17th, is there any particular reason during that six-day period
of time y'all couldn't find him?

A. It -- I believe it was signed Friday. We didn't
begin actively looking for him until Monday or Tuesday, and,
yes, we did go to the homeless shelter, spoke to the manager.

He had not reported there for -- I want to say the
first time he had not reported the night before, and so it was

just poor timing by the time we -- I mean, we went straight

 

32

 
Case 2:18-cr-00047-LGW-BWC Document 70 Filed 03/07/19 Page 25 of 26

 

1 there to the homeless shelter, but he had not stayed there the
2 night before.

3 Q. Well, you don't know of any evidence that he fled

4 to Brantley County to avoid arrest, do you?

5 A. No.

6 Q. And he was actually arrested going to work to the

7 port?

8 A. Coming home from work.

9 Q. Coming home?
10 A. Uh-huh.
11 Q. How was it that you knew where to physically find
12 him?
13 A. We -- we were able to contact his wife.
14 Q. Okay.
15 A. And we discovered that they were living in Brantley
16 County or had reason to believe that they were at a house
17 located in Brantley County.
18 His wife told us that he was working at the port, and
19 so later, either later that -- I believe it was later that day,
20 we found him at the port.

21 Q. And when he was arrested, was it done by a

22 plainclothes officer or blue lights, traffic stop?

23 A. No. They just approached him on foot, plainclothes.
24 Q. Did he make any attempt to flee?

25 A. No. It was the officers that had interviewed him

 

 

 

33
Case 2:18-cr-00047-LGW-BWC Document 70 Filed 03/07/19 Page 26 of 26

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

 

 

previously, so he -- he knew who they were.
Q. Was he compliant?
A. Yes.
Q. Give any trouble?
A. No.
Q. Commit any acts of violence?
A. No.
Q. Cuss anybody like a dog?
A. No.
Q. Anything but respectful?
A. No.

MR. TUCKER: That's all I have, Your Honor.

THE COURT: Any redirect, Mr. Gilluly?

MR. GILLULY: No, Your Honor.

THE COURT: Thank you, Agent. You can step down.

MR. GILLULY: Just argument at the appropriate time.

THE COURT: No further witnesses?

MR. GILLULY: That is correct, Your Honor.

THE COURT: Mr. Gilluly, if you would like to present
your argument.

MR. GILLULY: Yes, please.

Judge, we are asking that this defendant be detained.
Congress, when it enacted the Bail Reform Act, took into
consideration certain charges, and with those charges, they

found them to be of such a serious nature that Congress created

 

34

 
